 Case: 21-10143-BAH Doc #: 51 Filed: 04/09/21 Desc: Main Document                      Page 1 of 5




                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW HAMPSHIRE


In re:                                                         CHAPTER 11

ENTERTAINMENT CINEMAS LEBANON, LLC                             Case No. 21-10143-BAH

         Debtor


                            ORDER ON
 EX PARTE MOTION FOR ENTRY OF AN EX PARTE INTERIM ORDER DEEMING
  UTILITY COMPANIES ADEQUATELY ASSURED OF FUTURE PERFORMANCE
      AND ESTABLISHING PROCEDURE FOR DETERMINING ADEQUATE
   ASSURANCES PURSUANT TO 11 U.S.C. § 366 APPROVING DETERMINATION
 PROCEDURES AND ENTRY OF FINAL ORDERS FOLLOWING ANY OBJECTION
                     AND HEARING IF NECESSARY

         Upon the Ex Parte Motion for Entry of An Ex Parte Interim Order Deeming Utility

Companies Adequately Assured of Future Performance and Establishing Procedure for

Determining Adequate Assurances Pursuant To 11 U.S.C. § 366 Approving Determination

Procedures and Entry of Final Orders Following Any Objection and Hearing If Necessary

filed by Entertainment Cinemas Lebanon, LLC (the “Motion” and the “Debtor”) and it

appearing to the satisfaction of this Court that the relief requested therein is in the best

interests of the Debtor's estate, its creditors and other parties in interest, this Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, sufficient notice of the

Motion having been given, this matter is a core proceeding pursuant to 28 U.S.C. §§ 157, the

granting of the requested relief without further notice or hearing is appropriate under Code

Section 102, and after due deliberation and for good cause shown, it is hereby ordered that:

         A.       Except as otherwise defined herein, all words, terms and phrases defined in the
Motion shall have and be given the same meaning when used herein, including Cash Deposit,
Utility Company and Utility Service.
         B.       The Debtor shall mail the following to the Utility Companies by April 19,
 Case: 21-10143-BAH Doc #: 51 Filed: 04/09/21 Desc: Main Document                       Page 2 of 5




2021:

               1.        the Letter to Utility Companies attached as Exhibit A, with a check for
the deposit to be made to each of the following utility companies (the “Utility Companies” and
individually, a “Utility Company”) in the following amounts (the “Cash Deposits”):

                       i.        One (1) deposit to Comcast for internet and telephone services in
the amount of $198.53;
                     ii.         One (1) deposit to Irving Oil for heating oil in the amount of
$2,025.56;
                     iii.        Two (2) deposits to Liberty Utility for electricity in the amounts
of $1,349.81 (acct. xx5921) and $31.92 (acct. xx6580);
               2.        the Notice of Entry of Order attached as Exhibit B with a copy of this
Order.

         C.    The Utility Companies may accept and hold the Cash Deposits as an adequate
assurance of the Debtor’s payment of bills for utility services provided to the Debtor following
the Petition Date pending the further orders of this Court.
         D.    The Debtor shall pay on a timely basis all undisputed, post-petition invoices for
utility services rendered by the Utility Companies.
         E.    The Utility Companies have and shall be deemed to have adequate assurance of
payment pending the further orders of this Court.
         F.    Pending the further orders of this Court, the Utility Companies shall be, and
hereby are enjoined and restrained from discontinuing, altering, terminating or refusing service
on account of unpaid pre-petition charges, or discriminating against the Debtor, or requiring
payment of a deposit or receipt of other security in connection with any unpaid prepetition
charges for utility services furnished to the Debtor.
         G.    A Utility Company may file motion to modify this Order on or before May 10,
2021 (a “Motion to Modify”) based on the adequacy of notice of the hearing on the Motion.
         H.    This Court adopts the following determination procedures, without prejudice to
the right of any utility company to request a change thereof in a timely Motion to Modify but
reserves the right to require changes therein at a later date:
               1.           This Order shall remain in effect with respect to each
 Case: 21-10143-BAH Doc #: 51 Filed: 04/09/21 Desc: Main Document                     Page 3 of 5




Utility Company if it does not file a timely Motion to Modify.
               2.      Notwithstanding a decision not to file a timely Motion to Modify or any
failure to file a timely Motion to Modify, each Utility Company may move this Court for a
revocation or modification of this Order for cause.
               3.      If a Utility Company files a timely Motion to Modify, the Debtor shall
confer with the Calendar Clerk and the objecting Utility Company or its counsel and schedule
a prompt hearing on such Motion to Modify for the purpose of (i) determining whether the
objecting Utility Company has an adequate assurance of future payment and, if not, (ii)
establishing the adequate assurance to which the objecting Utility Company is entitled under
the circumstances (the “Determination Hearing”).
               4.      Pending the entry of a final order on such Motion to Modify, the
objecting Utility Company shall be restrained from discontinuing, altering or refusing service
to the Debtor on account of unpaid charges for pre-petition services.
               5.      If a Utility Company makes a timely Motion to Modify and requests
specific additional adequate assurances of payment for future Utility Service (“Additional
Adequate Assurances”) that the Debtor determines to be reasonable in the exercise of its
business judgment, the Debtor may give or provide such assurances by filing a stipulation for
order with this Court subject to the subsequent approval of the stipulation by this Court.
       I.      The automatic stay is continued with respect to each Utility Company if it does
not file a timely Motion to Modify as required by this Order, without prejudice to its right to
seek the revocation or modification of the stay for cause.
       J.      The Debtor is authorized and empowered to take all actions necessary to
implement the relief granted in this Order.
       K.      This Court shall retain jurisdiction to hear and determine all matters arising
from or relating to this Order.




       L.      This Order shall become effective on the date hereof.


            April 09, 2021                         /s/ Bruce A. Harwood
DATED: ___________________                    _______________________________
                                              Bruce A. Harwood
                                              U.S. Bankruptcy Judge
 Case: 21-10143-BAH Doc #: 51 Filed: 04/09/21 Desc: Main Document                     Page 4 of 5




                                                                             EXHIBIT A
                             WILLIAM S. GANNON PLLC
                                           Attorney At Law
                                          740 Chestnut Street
                                    Manchester, New Hampshire 03104
                                       Telephone (603) 621-0833
                                        Facsimile (603) 621-0830
                                     bgannon@gannonlawfirm.com

WILLIAM S. GANNON                                                          Direct:   603.296.1035
                                                                           Cell:     603.401.9259



                                            //__//, 2021

//_CREDITOR NAME_//
//_ADDRESS_//
//_ADDRESS_//
//_ADDRESS_//

       Re:     Entertainment Cinemas Lebanon, LLC, Chapter 11 Case No. 21-10143-BAH


Dear Sir/Madam:

       Pursuant to Section 366 of the Bankruptcy Code, Entertainment Cinemas Lebanon,

LLC, Debtor and Debtor in Possession, offers to pay //_CREDITOR NAME_// a deposit in the

amount of $//__// as an adequate assurance of payment for future utility services provided to

Entertainment Cinemas Lebanon, LLC.


                                              Very truly yours,




                                              DRAFT
                                              William S. Gannon
 Case: 21-10143-BAH Doc #: 51 Filed: 04/09/21 Desc: Main Document                Page 5 of 5

                                                                           EXHIBIT B
                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NEW HAMPSHIRE


In re:                                                    CHAPTER 11

ENTERTAINMENT CINEMAS LEBANON, LLC                        Case No. 21-10143-BAH

         Debtor


                NOTICE OF ENTRY OF FINAL ORDER ON
 EX PARTE MOTION FOR ENTRY OF AN EX PARTE INTERIM ORDER DEEMING
  UTILITY COMPANIES ADEQUATELY ASSURED OF FUTURE PERFORMANCE
      AND ESTABLISHING PROCEDURE FOR DETERMINING ADEQUATE
   ASSURANCES PURSUANT TO 11 U.S.C. § 366 APPROVING DETERMINATION
 PROCEDURES AND ENTRY OF FINAL ORDERS FOLLOWING ANY OBJECTION
                     AND HEARING IF NECESSARY

         The Debtor and Debtor in Possession, Entertainment Cinemas Lebanon, LLC hereby

gives notice that on //_DATE_//, the United States Bankruptcy Court entered the Final Order on

Ex Parte Motion for Entry of An Ex Parte Interim Order Deeming Utility Companies

Adequately Assured of Future Performance and Establishing Procedure for Determining

Adequate Assurances Pursuant To 11 U.S.C. § 366 Approving Determination Procedures and

Entry of Final Orders Following Any Objection and Hearing If Necessary attached as Exhibit

1.

                                            Respectfully submitted,

DATED: DRAFT                                /s/ DRAFT
                                            William S. Gannon, BNH 01222
                                            Counsel to:
                                            ENTERTAINMENT CINEMAS
                                            LEBANON, LLC
                                            WILLIAM S. GANNON, PLLC
                                            740 Chestnut Street
                                            Manchester, NH 03104
                                            PH: (603) 621-0833
